Case 4:21-cr-20184-SDK-Cl ECF No. 112-1, PagelD.599 Filed 07/07/23 Page 1 of 6

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Case 4:21-cr-20184-SDK-Cl ECF No. 112-1, PagelD.604 Filed 07/07/23 Page 6 of 6

  

 

 

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